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                                    UNITED STATES BANKRUPTCY COURT
                                                       Western District
                                                       __________       of Washington
                                                                    District of __________

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Notice of Postpetition Mortgage Fees, Expenses, and Charges
If you hold a claim secured by a security interest in the debtor's principal residence, you must use this form to give notice of any postpetition
fees, expenses, and charges that you assert are recoverable against the debtor or against the debtor's principal residence. File this form as a
supplement to your proof of claim. 6HH%DQNUXSWF\5XOH


                   Lakehaven Water & Sewer District
 Name of creditor:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                      3
                                                                                     Court claim no LINQRZQ BBBBBBBBBBBBBBBBBBBBBB

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 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
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Part 1: Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.


    Description                                                     Dates incurred                                               Amount

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Part 2: Sign Here

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8 /s/Michael M. Sperry
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Print: 
                 Michael M. Sperry
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                Attorney for Creditor
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&RPSDQ\         Schweet Linde & Coulson, PLLC
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$GGUHVV         575 S. Michigan Street
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&RQWDFWSKRQH BBBBBBBBBBBBBBBBBBBBBBB                                                                 michaels@schweetlaw.com
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